732 F.2d 138
    ATARI, INC., Appellee,v.JS &amp; A GROUP, INC., Appellant.
    Appeal No. 84-742.
    United States Court of Appeals,Federal Circuit.
    April 12, 1984.
    
      Appeal from United States District Court of Illinois, Northern District--Eastern Div.;    Bernard M. Decker, Judge.
    
    
      1
      George H. Gerstman, Chicago, Ill., submitted for appellant.
    
    
      2
      David E. Springer, Chicago, Ill., submitted for appellee;  Daniel W. Vittum, Jr., and Wendi Sloane Weitman, Chicago, Ill., of counsel.
    
    
      3
      Charles A. Laff, Chicago, Ill., submitted for intervenor;  Larry L. Saret and Harry C. White, Jr., Mountain View, Cal., of counsel.
    
    
      4
      Before the court in banc.
    
    ORDER
    
      5
      The court having sua sponte taken in banc the motion for transfer of this appeal, the parties are each requested to file within 60 days of the date of this Order 15 copies of a single independent supplemental brief devoted to:
    
    
      6
      (a) the relationship between count I (copyright) and count II (patent) as bearing on the appropriateness of separating count II from the other counts, including count I, for trial, judgment, and appeal;
    
    
      7
      (b) whether, when a complaint containing a nonfrivolous patent count and a copyright or trademark count, or both, is filed in a district court, action taken thereafter by a party or parties or the district court can deprive this court of jurisdiction to hear an appeal related to the copyright or trademark count.
    
    
      8
      (c) any other matter deemed relevant to the motion to transfer.
    
    
      9
      The court invites organizations with an interest in the general scope of this court's appellate jurisdiction over district court cases to file briefs on these subjects within 60 days of the date of this Order.
    
    